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                         UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF OHIO
                               EASTERN DIVISION


   IN RE: NATIONAL PRESCRIPTION                         MDL 2804
         OPIATE LITIGATION
                                                   Hon. Dan Aaron Polster
            This document relates to:
State of Alabama v. Purdue Pharma, L.P., et al.,
             Case No. 18-OP-45236




     BRIEF OF AMICI STATES OF CONNECTICUT, NORTH CAROLINA,
PENNSYLVANIA, ARIZONA, DELAWARE, DISTRICT OF COLUMBIA, FLORIDA,
   HAWAI‘I, IDAHO, ILLINOIS, IOWA, LOUISIANA, MAINE, MARYLAND,
  MICHIGAN, MINNESOTA, MISSISSIPPI, MONTANA, NEBRASKA, NEVADA,
NEW MEXICO, NEW YORK, NORTH DAKOTA, OHIO, OREGON, RHODE ISLAND,
  SOUTH CAROLINA, TENNESSEE, TEXAS, VIRGINIA, AND WASHINGTON
         IN OPPOSITION TO MCKESSON’S MOTION TO DISMISS
       THE STATE OF ALABAMA’S FIRST AMENDED COMPLAINT
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                                INTERESTS OF AMICI STATES

       The State of Connecticut, the State of North Carolina, the Commonwealth of

Pennsylvania, the State of Arizona, the State of Delaware, the District of Columbia, the State of

Florida, the State of Hawaii, the State of Idaho, the State of Illinois, the State of Iowa, the State

of Louisiana, the State of Maine, the State of Maryland, the State of Michigan, the State of

Minnesota, the State of Mississippi, the State of Montana, the State of Nebraska, the State of

Nevada, the State of New Mexico, the State of New York, the State of North Dakota, the State of

Ohio, the State of Oregon, the State of Rhode Island, the State of South Carolina, the State of

Tennessee, the State of Texas, the Commonwealth of Virginia, and the State of Washington

respectfully submit this amici curiae brief in support of Alabama’s opposition to McKesson’s

motion to dismiss. States have compelling interests in protecting the health, safety, and welfare

of their citizens. State attorneys general routinely promote these interests by enforcing consumer

protection statutes and other state laws. In doing so, they often rely on statutory authorization or

parens patriae authority to prevent or remedy harm to the health and well-being of their

residents. Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 607 (1982).

       Opioid abuse and addiction are fueling the deadliest drug crisis in American history. The

Amici States’ attorneys general represent communities with some of the highest opioid and

heroin abuse rates in the country. These abuses have inflicted catastrophic injury to the health

and welfare of their residents. Millions of the residents of the Amici States are now addicted to

prescription opioids and tens of thousands die annually from overdoses.1 Each of the States—

through various public health programs and law enforcement efforts—has also borne substantial

costs to mitigate and respond to the opioid epidemic.


1
  Centers for Disease Control and Prevention, Opioid Overdose: Understanding the Epidemic
(2017), available at https://www.cdc.gov/drugoverdose/epidemic/ (last visited Aug. 3, 2018).


                                                   1
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       In response to the crisis, more than 40 state attorneys general, including the Attorney

General of Alabama, formed a coalition to investigate opioid distributors. On September 18,

2017, the multistate group requested documents and information related to distribution practices

from three drug distributors, including McKesson.2 This investigation continues, with the

multistate group presently receiving and reviewing productions from the distributors and opioid

distribution data made available through the Court’s ARCOS Protective Order. Additionally,

like Alabama, several Amici States have filed lawsuits against McKesson and other distributors.

                                        INTRODUCTION

       There is no doubt—and indeed, McKesson does not dispute—that prescription opioids

are widely diverted from legitimate distribution channels to illegal ones. The sheer volume of

diverted opioids has wrought havoc throughout the Amici States and has plagued Amici States’

communities. There is a direct correlation between the sale and distribution of opioids and

opioid-induced deaths and hospitalizations.3

       McKesson—controlling approximately one-third4 of the drug distribution market—

claims that it bears no responsibility for the opioid epidemic because it is merely the truck driver

between a manufacturer that makes the opioid and a pharmacy that stocks the opioid. This claim

is belied by the extensive role that massive distribution companies like McKesson actually play

in the pharmaceutical industry. But, more importantly for purposes of this brief, McKesson


2
 http://myfloridalegal.com/webfiles.nsf/WF/JMAR-ARBR24/$file/McKesson+Inquiry+
Letter.pdf (last visited Aug. 3, 2018).
3
  Andrew Kolodny et al., The Prescription Opioid and Heroin Crisis: A Public Health Approach
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http://www.annualreviews.org/doi/pdf/10.1146/annurev-publhealth-031914-122957 (last visited
Aug. 3, 2018).
4
 Company Profile & Description, https://www.mckesson.com/about-mckesson (last visited Aug.
3, 2018).


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ignores the distributor’s legal duties to prevent diversion and to monitor, detect, investigate,

refuse, and report suspicious orders of opioids.

         Accordingly, the Amici States urge this Court to deny McKesson’s Motion to Dismiss.

                                           ARGUMENT

I.       State Laws, Enforced by State Attorneys General, Require Distributors to Prevent
         Diversion and Detect Suspicious Orders.

         Alabama has alleged that McKesson violated its duties under the federal Controlled

Substances Act to prevent diversion and detect suspicious orders. See Compl. ¶¶ 244-286. Even

so, McKesson argues that the federal Controlled Substances Act does not provide states a private

right of action against distributors and that state common law does not incorporate distributors’

duties under the federal Controlled Substances Act. See McKesson Br. at 15-18. But states do

not rely solely on the federal Controlled Substances Act to regulate distributors. State laws

themselves prohibit opioid distributors from facilitating diversion and from turning a blind eye to

suspicious orders.5 State attorneys general, including the Attorney General of Alabama, are

empowered to enforce violations of those laws. McKesson’s arguments, therefore, are without

merit.

         A.     State Law Requires that Opioid Distributors Prevent Diversion and Detect
                Suspicious Orders.

         State law imposes freestanding duties upon opioid distributors separate from the federal

Controlled Substances Act. The substance of the duties to prevent diversion and detect

suspicious orders imposed by state law are generally similar among the states and parallel federal

law duties. Accordingly, McKesson is wrong in arguing that “there is no duty under [state] law



5
 This brief discusses only the Uniform Act’s duties imposed on distributors. However, it also
imposes duties on manufacturers to prevent diversion and detect suspicious orders. See Alabama
Br. at 35-37.


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to halt or report suspicious orders” or that states “may not assert tort claims against McKesson

based on its federal regulatory obligation” when those duties parallel state law duties. McKesson

Br. at 15.

        State regulation of distributors is largely uniform: 48 states (all but New Hampshire and

Vermont), the District of Columbia, Puerto Rico, and the U.S. Virgin Islands have adopted a

model state statute, the Uniform Controlled Substances Act of 1970 (“Uniform Act”).6 See

Exhibit A; see also e.g., Ala. Code §§ 20-2-1 to -190.

        The Uniform Act requires that every distributor of controlled substances, like opioids,

must obtain an annual registration from the appropriate state agency. Uniform Act § 302(a); see

also Ala. Code § 20-2-51(a). The Uniform Act then requires those registered distributors to

follow its substantive requirements. Uniform Act § 302(b); see also Ala. Code § 20-2-51(b).

        The Uniform Act imposes substantive duties to prevent diversion and detect suspicious

orders in two ways. First, the Uniform Act conditions the lawful registration of distributors on

the “maintenance of effective controls against diversion of controlled substances into other than

legitimate medical, scientific, or industrial channels,” and “the existence in the applicant’s

establishment of effective controls against diversion.” Uniform Act § 303(a)(1), (4); see also

Ala. Code § 20-2-52(a)(1), (4). Second, the Uniform Act specifically grants to third parties

(including state agencies and officials) the authority to establish regulations policing the

distribution of controlled substances in the state. Uniform Act § 301; see also Uniform Act

prefatory note (“The Uniform Act updates and improves existing State laws and insures




6
 This count is based on the “table of jurisdictions wherein either the 1970, 1990, or 1994
versions of the act or a combination thereof has been adopted” available in Westlaw.


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legislative and administrative flexibility to enable the States to cope with both present and future

drug problems.”); Ala. Code § 20-2-50(a).

        Many states have used their regulatory powers under the Uniform Act to promulgate

regulations related to diversion and suspicious orders. In approximately half of the states, these

regulations are verbatim, or nearly verbatim, copies of Drug Enforcement Administration

(“DEA”) regulations related to diversion and suspicious orders. One such regulation that states

have implemented as a matter of state law7 requires explicitly that distributors “provide effective

controls and procedures to guard against . . . diversion of controlled substances.” 21 C.F.R. §

1301.71(a).8 Another such regulation that states have implemented as a matter of state law9


7
 See, e.g., Ill. Admin. Code tit. 77, § 3100.310(a); 856 Ind. Admin. Code 2-3-30(a); Iowa
Admin. Code r. 657-10.13; Kan. Admin Reg. § 68-20-15a(a); La. Admin Code tit. 46, § 2713(a);
Md. Code Regs. 10.19.03.12(a)(1); Mo. Code Regs. Ann. tit. 19, § 30-1.031(1); N.J. Admin.
Code § 13:45H-2.1(a); N.M. Code R. § 16.19.20.48(a); N.Y. Comp. Codes R. & Regs. tit. 10, §
80.17; 28 Pa. Code § 25.61(a); 216-20-20 R.I. Code R. § 4.7; S.C. Code Ann. Regs. 61-4-401(a);
W. Va. Code R. § 15-2-5.1.1; 59-2-3 Wyo. Code R. § 24(a).
8
  Through formal administrative adjudication entitled to deference, see Auer v. Robbins, 519 U.S.
452, 461 (1997), the DEA has interpreted this regulation to require each distributor “to perform
due diligence on its customers” on an “ongoing [basis] throughout the course of a distributor’s
relationship with its customer.” Masters Pharms., Inc., 80 Fed. Reg. 55,418, 55,477 (DEA Sept.
15, 2015), petition for review denied, 861 F.3d 206 (D.C. Cir. 2017). Pursuant to this duty, “a
distributor must conduct a reasonable investigation to determine the nature of a potential
customer’s business before it sells to the customer, and the distributor cannot ignore information
which raises serious doubt as to the legality of a potential or existing customer’s business
practices.” Id. (alterations and internal quotation marks omitted) (quoting Southwood Pharms.,
Inc., 72 Fed. Reg. 36,487, 36,498 (DEA July 3, 2007)).
9
 See, e.g., Idaho Admin. Code r. 27-01-01-615(4); 856 Ind. Admin. Code 2-3-33(b); Kan.
Admin Reg. § 68-20-15a(c)(2); La. Admin Code tit. 46, § 2715(c)(2); Mo. Code Regs. Ann. tit.
19, § 30-1.032(2); N.J. Admin. Code § 13:45H-2.4(b); N.Y. Comp. Codes R. & Regs. tit. 10, §
80.22; Ohio Admin. Code 4729:9-16(h)(1)(e); Okla. Admin. Code § 475:20-1-5(b); Or. Admin.
R. 855-65-10(9); S.C. Code Ann. Regs. 61-4-404(b); W. Va. Code R. § 15-2-5.3; Wis. Admin.
Code Phar § 8.10; 59-2-3 Wyo. Code R. § 27(b). Additionally, in recent years several states
have codified the requirements of 21 C.F.R. § 1301.74(b) into their statutes. See, e.g., Cal. Bus.
& Prof. Code § 4169.1; Conn. Gen. Stat. § 21a-70(i); Idaho Code Ann. § 54-1753(7); Tenn.
Code Ann. § 53-10-312(c); Va. Code Ann. § 54.1-3435(b).



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requires distributors to “design and operate a system to disclose to the [distributor] suspicious

orders of controlled substances. The [distributor] shall inform [DEA] of suspicious orders when

discovered by the [distributor]. Suspicious orders include orders of unusual size, orders

deviating substantially from a normal pattern, and orders of unusual frequency.” 21 C.F.R. §

1301.74(b). The United States Court of Appeals for the District of Columbia Circuit has held

that these regulations require distributors to either 1) report to DEA and refuse to ship each

suspicious order or 2) dispel any suspicions based on “actually undertak[ing] [an] investigation”

of the order that “must dispel all of the ‘red flags’ that gave rise to the suspicion that the

customer was diverting controlled substances.” Masters Pharms., 861 F.3d at 222-23.

         Other states have incorporated DEA’s anti-diversion and suspicious order requirements

into their state law in slightly different ways. Some states have done so by cross-referring to

DEA regulations.10 Alabama, for its part, adopts a slightly more shorthand version of 21 C.F.R.

§ 1301.74(b) in its regulations. Alabama’s regulations state that distributors “shall submit to the

Alabama State Board of Pharmacy legible copies of records and reports required by the Drug

Enforcement Administration concerning increases in purchases or high or unusual volumes




10
   See, e.g., 10A N.C.A.C. 26E.0129(a) (“Any person who . . . distributes . . . any controlled
substance shall comply with Part 1301 of Title 21 of the Code of Federal Regulations . . . .”);
Wash. Admin. Code 246-879-050(7) (“All applicants for a license as a controlled substances
wholesaler must comply with the security requirements as found in 21 CFR . . . 1301.71 through
1301.74 . . . .”). Other states, including Alabama, provide an overarching state law requirement
that distributors comply with DEA regulations. See, e.g., Ala. Admin. Code r. 680-X-2-
.23(2)(k)(3) (“Wholesale drug distributors shall operate in compliance with applicable Federal . .
. laws and regulations.”); Minn. R. 6800.1440, subp. 11 (“Wholesale drug distributors who deal
in controlled substances . . . shall comply with all applicable . . . Drug Enforcement
Administration regulations.”); Mont. Admin. R. 24.174.1201(6) (same as Minnesota).



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purchased by pharmacies within 30 days.”11 Ala. Admin. Code r. 680-X-3-.05(2) (emphasis

added); see also Ala. Admin. Code r. 680-X-2-.23(2)(e)(5) (similar requirement).

         B.     The Uniform Act and Federal Controlled Substances Act Specifically
                Contemplate State Regulation of Distributors.

         As the previous section shows, states have adopted statutes that require the regulation of

distributors’ diversion and suspicious order mechanisms. The drafters of the Uniform Act and

the federal Controlled Substances Act specifically contemplated an independent enforcement

role for state law.

         The Uniform Act and the federal Controlled Substances Act, which were passed at

approximately the same time,12 were meant to “provide an interlocking trellis of laws which will

enable government at all levels to more effectively control the [narcotic and dangerous drug]

problem.” Special Message to the Congress on Control of Narcotics and Dangerous Drugs, Pub.

Papers of the Presidents of the United States: Richard Nixon, 1969, at 513, 514 (July 14, 1969).

         The drafters of the Uniform Act identified a concern—similar to the issues the country

faces again today—about the role that the diversion of pharmaceutical drugs played in the rise in

drug abuse in the United States during the 1960s. At the time of the adoption of the Uniform Act

and the federal Controlled Substance Act, “[o]ver 50 percent of the ‘legally’ manufactured


11
   McKesson erroneously claims that “[t]here is no obligation under Alabama law to report
suspicious orders” notwithstanding this regulation. McKesson Br. at 13 (bold omitted). By the
plain text of this regulation, a distributor is out of compliance with state law either if it fails to
submit required reports to the DEA or to provide legible copies of those reports to the Alabama
Board of Pharmacy. In other words, the regulation is violated if the state fails to receive a legible
copy of a report that McKesson is required under federal law to submit to DEA, regardless if
McKesson fails in the first instance to make the report to DEA or simply to provide a copy to the
state. See also Alabama Br. at 34-35.
12
  Both the Uniform Act and the federal Controlled Substances Act have been amended since
their original 1970 versions. See, e.g., Uniform Controlled Substances Act (1994). However,
the relevant provisions related to regulating the distribution of controlled substances have
remained largely unchanged.


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amphetamines in the United States [were being] diverted into illegal channels,” and that “this

extraordinarily high diversion rate ha[d] continued for at least 5 years” but that “[d]rug

companies ha[d] not voluntarily curtailed production.” 116 Cong. Rec. 35,551 (Oct. 7, 1970)

(statement of Sen. Eagleton).

       In an effort to address diversion in their model legislation for states, the drafters

specifically identified a main objective of the Act: to establish a closed regulatory system for the

legitimate handlers of controlled drugs in order better to prevent illicit drug diversion. Uniform

Act, prefatory note. Specifically, the Act was designed to “close the gaps in State laws and thus

eliminate many of these sources of diversion, both actual and potential.” Uniform Act § 302

cmt. By incorporating the Uniform Act into state law, state legislators achieved their purpose in

combating diversion by establishing a closed regulatory system within each state that prevented

controlled substances going from legitimate channels to illegitimate channels. Pharm. Mfrs.

Ass’n v. N.M. Bd. of Pharm., 525 P.2d 931, 936 (N.M. Ct. App. 1974); see also United States v.

Moore, 423 U.S. 122, 135 (1975) (observing that Congress intended the federal Controlled

Substances Act to guard against diversion of abuse-prone prescription medications “from

legitimate channels to illegitimate channels” because entities with access to medications moving

through legitimate channels “were responsible for a large part of the illegal drug traffic”).

       By adopting the Uniform Act, the states have created closed systems to prevent the

diversion of controlled substances and regulated the distributors of these substances.

       C.      States Properly Impose Duties to Prevent Diversion and Detect Suspicious
               Orders that Parallel Those of the Federal Controlled Substances Act.

       McKesson argues that Alabama’s claims fail because Alabama has no federal law right of

action against distributors. McKesson is wrong because states may through their state laws

impose duties similar to federal law. Pursuant to the scheme established by the Uniform Act,



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they have done so with respect to opioid distributors’ duties to prevent diversion and detect

suspicious orders.

       States may adopt federal requirements as their own laws and regulations unless a

constitutionally valid provision of federal law preempts states from doing so. See, e.g.,

California v. Zook, 336 U.S. 725, 735 (1949) (holding that a state statute was not preempted

when “there is no conflict in terms, and no possibility of such conflict, for the state statute makes

federal law its own in this particular”). And the state law provisions that adopt federal

requirements may authorize the state (or its citizens) to sue to enforce noncompliance with those

duties, again unless a constitutionally valid provision of federal law preempts states from doing

so. See, e.g., Air Conditioning & Refrigeration Inst. v. Energy Res. Conservation & Dev.

Comm’n, 410 F.3d 492, 502 (9th Cir. 2005) (“[I]f state law adopts or imposes a . . . requirement

that is the same as the federal standard, even if the state law provides compensation or other

remedies for a violation, so long as Congress chooses not to explicitly preempt the consistent

law, it will not be said to be in conflict with federal law.” (quoting Worm v. Am. Cyanamid Co.,

970 F.2d 1301, 1307 (4th Cir. 1992))).

       The federal Controlled Substances Act neither preempts states from incorporating

distributors’ federal requirements into state law nor preempts states from making those

requirements judicially enforceable. In fact, the federal Controlled Substances Act specifically

disavows any interpretation that would preempt states from regulating in the same area “unless

there is a positive conflict between that provision of this title and that State law so that the two

cannot consistently stand together.” 21 U.S.C. § 903. This point only bolsters the conclusion

that the federal Controlled Substances Act is enforced in concert with state regimes of regulation

and enforcement.




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         D.     State Attorneys General Have Common-Law or Statutory Authority to
                Enforce State Controlled Substances Laws and to Seek Monetary Remedies
                Under Those Laws.

         Perhaps anticipating that it will not be successful in denying the states’ authority to

prevent diversion and monitor suspicious orders, McKesson argues, alternatively, that the Court

should dismiss Alabama’s complaint because “nothing in the [Alabama] statute . . . authorizes

the State to seek compensatory or consequential ‘damages’ on the basis of alleged violations of

the Alabama CSA.” McKesson Br. at 11-12. This argument is wrong, because state attorneys

general have full authority to take civil action seeking monetary remedies—including damages

for past harm, civil penalties, and future costs necessary to remediate harm—to enforce the

duties imposed on distributors by state controlled substance laws.13

         Most state attorneys general derive their power, at least in part, from the common law.

See State ex rel. Derryberry v. Kerr-Mcgee Corp., 516 P.2d 813, 818-19 (Okla. 1973) (citing law

from numerous states). “Under the common law, the attorney general has the power to bring any

action which he or she thinks necessary to protect the public interest, a broad grant of authority

which includes the power to act to enforce the state’s statutes.” 7 Am. Jur. 2d Attorney General

§ 5. The California courts have also noted that “[t]he attorney-general, as the chief law officer of

the state . . . in the absence of any legislative restriction, has the power to file any civil action . . .

which he deems necessary for the enforcement of the laws of the state . . . .” People ex rel.

Harris v. Rizzo, 154 Cal. Rptr. 3d 443, 458 (Cal. Ct. App. 2013). In those states where the

Attorney General lacks inherent common-law powers, “the statutes in the various jurisdictions

are, as a rule, more or less declaratory of the common law.” 7 Am. Jur. 2d Attorney General § 5.



13
  With respect to at least some causes of action, other governmental and private parties may
have the legal right to enforce these state-law duties. This issue, which may have varying
answers in different states, is beyond the scope of this brief.


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       As Alabama explains, it can obtain monetary remedies for violation of distributors’ anti-

diversion and suspicious order reporting duties under the Uniform Act through its claims for

nuisance, negligence, and wantonness. Alabama Br. at 37, 40-43. Moreover, as explained

below, in addition to common-law authority, state consumer protection statutes—including

Alabama’s—provide specific authority to enforce distributors’ anti-diversion and suspicious

order reporting duties under the Uniform Act and to obtain monetary remedies for their

violations.

II.    McKesson’s Remaining Scattershot Arguments Do Not Apply to Sovereign
       Enforcement of State Consumer Protection Laws or to State Common-Law Claims.

       McKesson argues that Alabama is not eligible for relief because the free public services

doctrine bars its claims, because it does not adequately plead proximate causation, and because

its injuries are supposedly derived from harm to others. McKesson’s arguments are largely

based on principles that apply to private parties enforcing private rights of action in tort. But

states, unlike private parties, have broad authority under consumer laws that prohibit unfair

and/or deceptive business practices (“UDAP”) and under common law to protect consumers and

safeguard the integrity of state industries. Accordingly, states need not allege proximate cause

when bringing enforcement actions under UDAP statutes. Likewise, states’ consumer protection

claims are not barred by the derivative injury rule or the free public services doctrine.

       A.      States Have Broad Authority to Protect Consumers Through Parens Patriae
               Authority and Under State UDAP Statutes.

       States protect their consumers and the integrity of their marketplaces under their state

UDAP statutes or as parens patriae. See generally Mississippi ex rel. Hood v. AU Optronics

Corp, 571 U.S. 161 (2014); AU Optronics Corp. v. South Carolina, 699 F.3d 385 (4th Cir.

2012); Nevada v. Bank of Am. Corp., 672 F.3d 661 (9th Cir. 2012). The Supreme Court has long

recognized states’ standing to bring suits based on sovereign interests. See Alfred L. Snapp &


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Son, Inc., 458 U.S. at 607 (recognizing a state’s interest in preventing and/or remedying harm to

“the health and well-being—both physical and economic—of its residents in general”).

       In addition to states’ standing as parens patriae, all fifty states have enacted UDAP laws

that may be enforced by the sovereign. State attorneys general bring actions under these UDAP

statutes to target deceptive business conduct. See Jonathan Sheldon et al., Nat’l Consumer Law

Ctr., Unfair and Deceptive Acts and Practices §§ 1.1, 12.2.1, 13.1 (9th ed. 2016); Prentiss Cox et

al. Strategies of Public UDAP Enforcement, 55 Harv. J. on Legis. 37 (2017). The sovereign

enforcement provision of Alabama’s Deceptive Trade Practices Act (“DTPA”), Ala. Code § 8-

19-8, parallels the UDAP sovereign enforcement provisions in other states. Ala. Code §§ 8-19-8,

8-19-11.

       McKesson disregards the special role state attorneys general play in protecting consumers

by conflating private UDAP claims with sovereign UDAP enforcement. But courts have

uniformly recognized that the purpose of sovereign enforcement actions is eliminating unfair or

deceptive practices “to vindicate the public interest rather than to redress individual grievances”

or to act as a proxy for individual citizens’ private claims. Mayton v. Hiatt’s Used Cars, Inc.,

262 S.E.2d 860, 863 (N.C. Ct. App. 1980). The court in In re Standard & Poor’s Rating Agency

Litigation, for example, expressly recognized the distinctions between private and sovereign

UDAP actions and highlighted the objective of states in enforcing UDAP statutes to eliminate

unfair and deceptive business practices from the marketplace. In re Std. & Poor’s Rating Agency

Litig., 23 F. Supp. 3d 378, 407 (S.D.N.Y. 2014).

       B.      The Free Public Services Doctrine Does Not Bar State Claims.

       The “free public services” doctrine does not bar recovery under Alabama’s common-law

claims to recover its expenditures related to the opioid epidemic. Nor does the doctrine preclude

states from enforcing UDAP statutes.


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         The free public services doctrine is potentially applicable when a government entity seeks

recovery for unremarkable emergency services whose costs are commonly levied on the public.

Courts have found that the rule typically applies in those cases in which a single negligent event

or act causes increased costs to governmental entities as they respond to one-off crises. See, e.g.,

City of Flagstaff v. Atchison, Topeka & Santa Fe Ry. Co., 719 F.2d 322, 323 (9th Cir. 1983)

(government costs incurred in evacuating residents after a train derailment).14

         The costs incurred by Alabama, the Amici States, and every state nationwide to address

the opioid crisis are substantial, wide-ranging, and ongoing. See Compl. ¶¶ 355-66. The

conduct alleged in this case and the costs incurred render the doctrine inapplicable in this

context.

         Where, as here, a tortfeasor’s continued misconduct causes a state to expend a significant

amount of resources to mitigate the consequences of the misconduct, the state may recoup those

costs. See, e.g., James v. Arms Tech., Inc., 820 A.2d 27, 48-49 (N.J. Super. Ct. App. Div. 2003)

(refusing to apply the free public services doctrine where the plaintiff claimed a repeated course

of conduct by gun manufacturers, distributors, and retailers that required the government to

expend substantial sums on a continual basis).

         Here, the costs that Alabama and other states are seeking to recover are not associated

with run-of-the-mill emergency services within the ambit of the free public services doctrine.15

As Alabama’s complaint alleges, the opioid epidemic has increased governmental costs


14
  The brief addresses only McKesson’s claim that the free public services doctrine applies to the
State of Alabama’s causes of action, McKesson Br. at 10-11, and not the separate “municipal
cost recovery rule” that is inapplicable to states.
15
  Additionally, many of the monetary remedies that states are seeking are civil penalties and
future costs necessary to remediate harm, and not the recovery of past costs. States, like
Alabama, are uniquely situated in being authorized to pursue recoveries in this matter under their
UDAP statutes and the Uniform Act.


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nationwide, in areas ranging from healthcare treatment costs to losses of productivity and tax

revenue. See Compl. ¶¶ 360-63. In fact, a recent estimate by the Council of Economic Advisers

places the true cost of the opioid epidemic at $504.0 billion nationwide for the year 2015 alone.

See Council of Economic Advisors, The Underestimated Cost of the Opioid Crisis 1 (2017). The

free public services doctrine should not apply to bar the recovery of states’ costs related to

McKesson’s continuous, intentional, and deceptive conduct.

         Moreover, courts have routinely found that the free public services doctrine does not

apply where recovery is authorized by statute or regulation or where a state is seeking to recover

the costs of public services expended to abate a nuisance. See Alabama Br. at 8-9. Alabama

alleges that the opioid epidemic is a public nuisance that was fueled, in part, by McKesson’s

actions, and these actions continue to threaten the health, safety, and welfare of Alabamans. The

damages that Alabama seeks relate directly to the abatement of the public nuisance it alleges

McKesson caused. Accordingly, the free public services doctrine does not apply to Alabama’s

common law claims.16

         The Court should also reject McKesson’s application of the free public services doctrine

to sovereign enforcement of UDAP statutes. The doctrine does not diminish states’ authority

under UDAP statutes to bring consumer protection enforcement actions. Koch v. Consol. Edison

Co. of N.Y., Inc., 468 N.E.2d 1, 8 (N.Y. 1984).




16
  Alabama alleges that recovery from McKesson will directly abate the nuisance. See Compl. ¶¶
369, 375, 378-79. As a result, the Illinois Supreme Court’s use of the free public services
doctrine to preclude a governmental plaintiff from recovering damages against a gun
manufacturer is inapposite. See City of Chicago v. Beretta U.S.A. Corp., 821 N.E.2d 1099 (Ill.
2004). In that case, the Illinois Supreme Court expressly held that the reason it applied the free
public services doctrine was that the governmental plaintiff admitted that recovery would not
abate the nuisance. Id. at 1147.


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       None of the cases on which McKesson relies applies the doctrine to bar sovereign

enforcement of a UDAP statute. On the contrary, in the one reported case in which a defendant

challenged a UDAP statute claim based on the free public services doctrine, the court summarily

rejected the challenge. See State v. Lead Ind. Ass’n, Inc., No. 99-5226, 2001 WL 345830, at *5

(R.I. Super. Ct. Apr. 2, 2001). Accordingly, the free public services doctrine does not bar a

claim under a UDAP statute by a sovereign.

       C.      Sovereign Enforcement Actions Under UDAP Statutes Do Not Require a
               Showing of Proximate Cause.

       McKesson conflates the requirements for private and sovereign UDAP actions by arguing

that Alabama did not adequately allege that its injuries were proximately caused by McKesson’s

deceptive conduct. McKesson’s efforts to impose requirements for private plaintiffs under the

DTPA on Alabama’s sovereign enforcement claim should be rejected.

       Inherent in the distinction between private and sovereign actions is the more relaxed

showing that sovereigns must make to state a claim under UDAP statutes. Private actions and

sovereign actions under state UDAP statutes involve different elements. Courts have routinely

found, for example, that sovereigns need not prove reliance or proximate causation to obtain

relief under state UDAP statutes. See, e.g., Weinberg v. Sun Co., 777 A.2d 442, 445 (Pa. 2001)

(under Pennsylvania’s UDAP statute, private plaintiffs must show reliance and causation, but the

State need only prove that a practice is unlawful and that proceedings would be in the public

interest); Elipas Enters. v. Silverstein, 612 N.E.2d 9, 12 (Ill. App. Ct. 1993) (private consumers

could not prevail on claims under Illinois’ UDAP statute without establishing reasonable reliance

on deceptive conduct, but the State need not establish reasonable reliance); Thiedemann v.

Mercedes-Benz USA, LLC, 872 A.2d 783, 790-92 (N.J. 2005) (recognizing that private plaintiffs




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must plead an “[ascertainable] loss attributable to conduct made unlawful by the [Consumer

Fraud Act]” but Attorney General need not).

        None of the cases that McKesson relies on contradicts this tenet of UDAP enforcement.

This is because none of the cases McKesson cites involved sovereign enforcement of state

UDAP claims. This Court should reject McKesson’s claim that failure to allege proximate

causation is fatal to a state’s UDAP claims.

        D.     The Derivative Injury Rule Does Not Apply to Sovereign Actions Under
               UDAP Statutes.

        McKesson also incorrectly claims that the “derivative injury rule” applies to sovereign

UDAP claims. But the derivative injury rule is inapplicable in sovereign actions under UDAP

statutes.

        The derivative injury rule tests whether a party has standing to sue. When putative harm

suffered by a private plaintiff is entirely derivative of harm to others, the harm may be “too

remote” to support standing. See, e.g., Laborers Local 17 Health & Benefit Fund v. Philip

Morris, Inc., 191 F.3d 229, 236-38 (2d Cir. 1999).

        But a state’s standing under a UDAP statute is not based on individual injuries at all.

Instead, a state’s standing is based on explicit enforcement authority conferred by the UDAP

statute. State UDAP statutes authorize states to seek injunctive and equitable relief—in the

states’ own names—to eliminate unfair and deceptive business practices. In re Std. & Poor’s

Rating Agency Litig., 23 F. Supp. 3d at 406; AU Optronics Corp., 699 F.3d at 394.

        Tellingly, neither of the cases upon which McKesson relies applies the derivative injury

rule to a sovereign UDAP claim. See McKesson Br. at 7. In State ex rel. Miller v. Philip Morris

Inc., the court applied the derivative injury rule to Iowa’s common law claims but not to Iowa’s

UDAP claims. State ex rel. Miller v. Philip Morris Inc., 577 N.W.2d 401 (Iowa 1998).



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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2018 the foregoing was filed electronically. Notice of

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on the electronic filing receipt. Parties may access this filing through the Court’s system.


                                               /s/ Steve W. Berman
                                               Steve W. Berman




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